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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
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Marvel Characters, Inc. ,                              llJ .... -----r,,~,
                       Plaintiff,                      LD; T... r~IL;F;;Dd:   ~;;;;;;;;;;;,:;;;;i.        21-cv-7955 (LAK)
        V.


Lawrence D. Lieber,
                        Defendant.
-----------------------------x
Marvel Characters, Inc.,
                       Plaintiff,                                                                         21-cv-7957 (LAK)
        V.

Patrick S. Ditko,
in his capacity as Administrator of the
Estate ofStephen J Ditko,
                       Defendant.
-----------------------------x
Marvel Characters, Inc. ,
                       Plaintiff,                                                                         21-cv-7959 (LAK)
        V.


Keith A. Dettwiler,
in his capacity as Executor of the
Estate of Donald L. Heck,
                       Defendant.
-----------------------------x

                          ORDER OF REFERENCE TO A MAGISTRATE JUDGE

                The above-entitled actions are referred to Magistrate Judge Gorenstein,
in 21-cv-795 5 (LAK), forsettlement purposes.                               J      ,.
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Dated: October~ 2022                                                                  ~,,,

                                                                                         Lewis A. ap an
                                                                                     United States District Court
